FORM 32. Response to Notice to Advise of Scheduling Conflicts                           Form 32
                                                                                       July 2020


                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

    RESPONSE TO NOTICE TO ADVISE OF SCHEDULING CONFLICTS

          Case Number: 2022-1325

  Short Case Caption: Apple Inc. v. Corephotonics, Ltd.

 Party Name(s)                                  Corephotonics, Ltd.
 Name of Arguing Counsel                        Brian D. Ledahl
 Dates Unavailable                              April 3-7, 2023
 List up to ten dates of                         June 9, 2023
 unavailability within the specific
 sessions identified by the court in
 the Notice to Advise of Scheduling
 Conflicts in this case.

 Attach a statement showing
 good cause for each listed
 date. Dates listed without a
 supporting statement will not be
 considered in scheduling
 argument. See Fed. Cir. R. 34(d);
 Practice Notes to Rule 34.
 Potential Other Conflicts                      Realtime Data LLC v. Array Networks Inc.
                                                Case No. 21-2251
 Please list other pending cases
 before this court in which above
 counsel intends to argue                       Realtime Adaptive Streaming LLC v. Sling TV,
 (regardless of case status).                   L.L.C. Case No. 21-2268

I certify the above information and any attached statement is complete and
accurate. I further certify that I will update my notice should new conflicts arise
or existing conflicts change.

  Date: 1/25/2023                                 Signature:    /s/ Brian D. Ledahl

                                                  Name:         Brian D. Ledahl



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                 22-1325, -1327

   UNITED STATES COURT OF APPEALS
      FOR THE FEDERAL CIRCUIT


                  APPLE INC.,
                   Appellant
                      v.

           COREPHOTONICS, LTD.,
               Cross-Appellant


On Appeal from the Patent Trial and Appeal Board in
    Inter Partes Review No. IPR2020-00878


       STATEMENT OF GOOD CAUSE


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                          Attorneys for Cross-Appellant
                          Corephotonics, Ltd.
      The undersigned hereby states that good cause exists for each of the

scheduling conflicts identified in Cross-Appellant Corephotonics, Ltd., Response to

Notice to Advise of Scheduling Conflicts as follows:


       April 3-7, 2023             Final pretrial conference and trial in Alpine
                                   Group v. Gooding & Company, Case No.
                                   19STCV02637, Los Angeles County Superior
                                   Court;

       June 9, 2023                Son’s High School Graduation.



Dated: January 25, 2023                     Respectfully submitted,

                                            /s/ Brian D. Ledahl
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